     Case 2:14-cv-00676-WBS-DB Document 265 Filed 09/21/18 Page 1 of 2

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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    THE NATIONAL GRANGE OF THE                       No. 2:14-cv-0676 WBS DB
      ORDER OF PATRONS OF
12    HUSBANDARY,
13                      Plaintiff,                     ORDER
14           v.
15    CALIFORNIA GUILD, formerly doing
      business as “California State Grange”,
16

17                      Defendant.
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19          This action came before the court on September 20, 2018, for hearing of defendant’s

20   motion to quash and plaintiff’s motion for sanctions. (ECF Nos. 257 & 260.) Attorney Mark

21   Serlin appeared on behalf of the plaintiff. Attorney Mark Ellis appeared on behalf of the

22   defendant.

23          Upon consideration of the arguments on file and those made at the hearing, and for the

24   reasons set forth on the record at that hearing, IT IS HEREBY ORDERED that:

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     Case 2:14-cv-00676-WBS-DB Document 265 Filed 09/21/18 Page 2 of 2

 1           1. Defendant’s August 30, 2018 motion to quash (ECF No. 257) is denied;

 2           2. Plaintiff’s September 6, 2018 motion for sanctions (ECF No. 260) is denied, except

 3   with respect to the $225 defense counsel has agreed to reimburse plaintiff1;

 4           3. Counsel for defendant shall pay the $225 sanction to plaintiff on or before September

 5   27, 2018; and

 6           4. The August 31, 2018 judgment debtor examination is continued to September 27,

 7   2018, at 9:30 a.m., at the United States District Court, 501 I Street, Sacramento, California, in

 8   Courtroom No. 27, before the undersigned.

 9   Dated: September 20, 2018

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       See ECF No. 263 at 10. This cost shall be borne solely by defense counsel and not charged to
28   the defendant.
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